Case 2:04-cr-20056-.]PI\/| Document 26 Filed 05/02/05 Page 1 of 2 Page|D 39

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IN THE UNITED STATES DISTRICT ooURT 3333 3""' 3 '
FoR THE WESTERN DISTRICT oF TENNESSE f _ 7
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UNITED STATES OF AMERICA, :' H\!, ",'|V;'p !S

Plaintiff,
V. CR. NO.: 04-20056-M1
ROY C. PAGE,

Defendant.

 

ORDER TO CONTINUE SENTENCING HEARING

 

Upon motion by the Defendant, by consent of the Government and for good

cause Show, the Sentencing hearing in the above-referenced cause is continued until

the §§ 3d day of A’D(S{US+ , 2005, at 532-5005 @/p.m.

iTIS eo oRDEREDthiS g dayof indiv ,2005.

own (Ml

ABLE JON McCALLA
U0 OD STATES DISTRICT JUDGE

 

 

RANDALL W. PIERCE, #7699
Attoi'ney for Defendant

P.O. Box 3410

Memphis, TN 38173-0410
901-523-1844

Thls document entered on the docket sheet In compliance

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Notice of Distribution

This notice confirms a copy of the document docketed as number 26 in
case 2:04-CR-20056 Was distributed by faX, mail, or direct printing on
May 2, 2005 to the parties listed.

 

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Honorable J on McCalla
US DISTRICT COURT

